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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION

 STEPHEN C. BULLOCK, et al.,
               Plaintiffs,               Case No. 4:18-cv-00103-BMM
                 v.
 INTERNAL REVENUE SERVICE, et            JOINT STATUS REPORT
 al.,
               Defendants.
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      Pursuant to the Court’s order, Docket No. 60, the parties submit this joint

status report.

      The Court’s Order (Doc. 57) on Defendants’ Motions to Dismiss (Docs. 13

and 31) and Plaintiffs’ Motion for Summary Judgment (Doc. 41), granted

Plaintiffs’ Motion as to Count I of their Amended Complaint (Doc. 16). The Court

held unlawful and set aside Revenue Procedure 2018-38 as adopted by the IRS,

directing that the IRS must “follow the proper notice-and-comment procedures

pursuant to the APA if it seeks to adopt a similar rule.” (Doc. 57). This Order was

not appealed.

      The parties agree that Counts II and III of Plaintiffs’ Amended Complaint

are moot in light of the Court’s Order. Therefore, the parties take the view that

nothing remains to be done in this case, other than for judgment to be entered on

Count I of Plaintiffs’ Amended Complaint, in accordance with the Court’s Order.


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DATED: September 25, 2020

                     Respectfully submitted,


                                 /s/ Deepak Gupta
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                           CERTIFICATE OF SERVICE

       I certify that on September 25, 2020, I electronically filed the foregoing with

the Clerk of the Court using the ECF system, which will send notification of such

filing to counsel for Plaintiffs.




                                        s/ Landon M. Yost
                                        LANDON M. YOST
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